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AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case


                                    UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                               V.                                   (For Offenses Committed On or After November 1, 1987)

               JOSE CARRILLO HEREDIA                                   Case Number: 25cr0256-KSC
                                                                    JEREMY DANG (FEDERAL DEFENDERS)
                                                                    Defendant’s Attorney
USM Number                     15822506
☐ _
THE DEFENDANT:
x pleaded guilty to count(s)
☐                                      1 OF THE SUPERSEDING INFORMATION

☐ was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                  Nature of Offense                                                                  Number(s)
8:1325(a)(1)                     Attempted Improper Entry by an Alien (Misdemeanor)                                    1




    The defendant is sentenced as provided in pages 2 through                2             of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☐
X Count(s)             Underlying                             is          dismissed on the motion of the United States.

      Assessment : $ 10 - WAIVED
☐
X     _

☐ JVTA Assessment*: $
      *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
X No fine
☐                            ☐ Forfeiture pursuant to order filed                                              , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.
                                                                              2/20/25
                                                                    Date of Imposition of Sentence



                                                                   HON. KAREN S. CRAWFORD
                                                                   U.S. MAGISTRATE JUDGE
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DEFENDANT:                JOSE CARRILLO HEREDIA                                                    Judgment - Page 2 of 2
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                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 90 DAYS




 ☐     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ☐     The court makes the following recommendations to the Bureau of Prisons:




 ☐     The defendant is remanded to the custody of the United States Marshal.

 ☐     The defendant must surrender to the United States Marshal for this district:
       ☐     at                             A.M.              on
       ☐     as notified by the United States Marshal.

       The defendant must surrender for service of sentence at the institution designated by the Bureau of
 ☐
       Prisons:
       ☐     on or before
       ☐     as notified by the United States Marshal.
       ☐     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                       , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL
